      Case 1:22-cv-00533-JL-AJ   Document 24    Filed 06/30/25   Page 1 of 1



                        UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW HAMPSHIRE


Eric Krieg

      v.                                          Case No. 22-cv-533-JL-AJ

FCI Berlin, Warden




                                    ORDER

      After due consideration of the objection filed, I herewith

approve the Report and Recommendation of Magistrate Judge Andrea K.

Johnstone dated August 13, 2024.


                                            ____________________________
                                            Joseph N. Laplante
                                            United States District Judge

Date: June 30, 2025

cc:   Eric King, pro se
      Matthew Hunter, AUSA
